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                                        The Law Offices Of

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                                                           March 9, 2021

(By E-Mail and PACER)
Hon. J. Paul Oetken
United States District Judge
Southern District of New York
40 Foley Square
Courtroom 706
New York, NY 10007

               Re: United States v. Lev Parnas, et. al., 19-cr-725 (JPO)

Dear Judge Oetken:

        We write to request modi cation of Mr. Parnas’ pre-trial release, from home con nement
except for family-care related activities, to a 7:00 pm to 7:00 am curfew, with travel restricted to
the SDFL. Mr. Parnas’s GPS monitoring and all other terms of his release will remain in place.

       The Government and Mr. Parnas’ Pre-Trial Services Of cers have no objection to this request.

       Thank you in advance for consideration of this application.

                                                           Respectfully submitted,

                                                           ______/S/______
                                                           Joseph A. Bondy

cc:    All Counsel (PACER)
       USPTOs Joshua Rothman (SDNY)
       Justin Brownlee (SDFL) (by e-mail)




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